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                                        United States District Court
                                    For The Southern District of Florida


   Lynne Kaufman,

          Plaintiff,
                                                           Civil Action No.
   vs.

   Bank of America, National Association,

         Defendant.
   _____________________________________/


                               Complaint and Demand for Jury Trial

         Plaintiff, LYNNE KAUFMAN, sues Defendant, BANK OF AMERICA, NATIONAL

  ASSOCIATION, for monetary relief, including attorney fees and costs, and respectfully demands

  judgment against the Defendant on all claims pled against it in this complaint. Plaintiff brings this

  action under the Real Estate Settlement Procedures Act (“RESPA”), 12 U.S.C. § 2605, and its

  implementing regulation, Regulation X, 12 C.F.R § 1024 (“Regulation X”), for violations of

  RESPA. The ultimate facts supporting Plaintiff’s entitlement to the requested relief are articulated

  in the numbered paragraphs below.

                                    Jurisdiction, Venue, and Parties

         1.      This Court has subject matter jurisdiction over Plaintiff’s claim under the RESPA

  and Regulation X pursuant to 12 U.S.C. § 2614.

         2.      Venue is proper in the United States District for the Southern District of Florida

  under 12 U.S.C. § 2614 because it is the district in which the property involved is located.

         3.      Plaintiff is Florida resident residing in Broward County, Florida.
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         4.      Defendant is a corporation with its principal place of business in the State of North

  Carolina. At all times material to this action, Defendant regularly transacted business in the state

  of Florida.

                                             Introduction

         5.      In January 2013, the Consumer Finance Protection Bureau (“CFPB”) issued a

  number of final rules concerning mortgage markets in the United States, pursuant to the Dodd-

  Frank Wall Street Reform and Consumer Protection Act (“DFA”), Public Law No. 111-203, 124

  Stat. 1376 (2010).

         6.      Specifically, on July 10, 2013, the CFPB issued mortgage rules under Regulation

  Z and Regulation X pursuant to its authority under the DFA, which became effective on January

  10, 2014.

         7.      Defendant is a loan “servicer” of the Plaintiff’s “federally related mortgage loan”

  as those terms are defined in the RESPA, 12 U.S.C. § 2602(1) and 12 U.S.C. § 2605(i)(2) (the

  “Loan”). Defendant receives payments from consumers and is responsible for distributing those

  payments to the investors who own the consumers’ loans and, when the consumers’ loans include

  escrow accounts, to the consumers’ taxing authorities or insurance companies. Thus, it is a servicer

  within the meaning of RESPA. 12 C.F.R. § 1025.2(b). Thus, the Defendant is subject to the

  servicing requirements provided for in the RESPA and Regulation X.

         8.      RESPA and Regulation X are applicable to all “federally related mortgage loans”,

  which include any loans secured by a first or subordinate lien on residential real property upon

  which a one-to-four family structure is located and which is made in whole or in part by any lender

  that is either regulated by or whose deposits or accounts are insured by an agency of the Federal
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  Government. See 12 C.F.R. § 1024.2. Accordingly, Plaintiff’s Mortgage is a “federally related

  mortgage loan” as defined in Regulation X. Id.

         9.      Plaintiff is asserting a claim for relief against Defendant for breaches of the specific

  rules under Regulation X as set forth below.

         10.     Plaintiff has a private right of action under RESPA pursuant to 12 U.S.C. § 2605(f)

  for the claimed breaches and such action provides for remedies including actual damages, statutory

  damages, attorneys’ fees and costs.

                                          Factual Allegations

         11.     On or about June 10, 2005, Plaintiff executed a promissory note and mortgage in

  favor of Countrywide Home Loans, Inc. for the real property located at 6424 96th PL S, Boynton

  Beach, FL 33457 (the “Property”).

         12.     On or about September 30, 2014, Plaintiff sent to Defendant a Request for

  Information requesting certain information relating to her mortgage loan with Defendant (the

  “September 30th RFI”). A copy of the September 30th RFI is attached as Exhibit “A”.

         13.     On or about October 8, 2014, Plaintiff sent to Defendant a Request for Information

  requesting certain information relating to her mortgage loan with Defendant (the “October 8th

  RFI”). A copy of the September 30th RFI is attached as Exhibit “B”.

         14.     On or about October 27th, 2014, Plaintiff sent to Defendant a Request for

  Information requesting certain information relating to her mortgage loan with Defendant (the

  “October 27th RFI”). A copy of the October 27th RFI is attached as Exhibit “C”.

         15.     On or about December 10, 2014, Plaintiff sent to Defendant a Request for

  Information requesting certain information relating to her mortgage loan with Defendant (the

  “December 10th RFI”). A copy of the December 10th RFI is attached as Exhibit “D”.
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         16.       On or about January 25th, 2016, Plaintiff sent to Defendant a Request for

  Information/Notice of Error requesting certain information relating to her mortgage loan with

  Defendant and notifying Defendant of past errors relating to the servicing of her mortgage loan

  (the “January 25th RFI/NOE”). A copy of the January 25th RFI/NOE is attached as Exhibit “E”.

         17.       On or about June 27th, 2016, Plaintiff sent to Defendant a Request for

  Information/Notice of Error requesting certain information relating to her mortgage loan with

  Defendant and notifying Defendant of past errors relating to the servicing of her mortgage loan

  (the “June 27th RFI/NOE”). A copy of the June 27th RFI/NOE is attached as Exhibit “F”.

         18.       On or about July 16, 2016, Plaintiff sent to Defendant a Notice of Error notifying

  the Defendant of its past errors in not properly responding to the Plaintiff’s prior Requests for

  Information (the “July 16th NOE”). A copy of the July 16th NOE is attached as Exhibit “G”.

         Count I – Failure to Respond to September 30, 2014 Request for Information
                   Violation of Regulation X, Section 12 C.F.R. § 1024.36(d)

         19.       Plaintiff incorporates the allegations in paragraphs 1-18 above into this count for

  damages.

         20.       Regulation X section 1024.36(d)(1) provides that a “servicer must respond to an

  information request by either: (i) [p]roviding the borrower with the requested information and

  contact information, including telephone number, for further assistance in writing; or (ii)

  [c]onducting a reasonable search for the requested information and providing the borrower with a

  written notification that states that the servicer has determined that the requested information is

  not available to the servicer, provides the basis for the servicer’s determination, and provides

  contact information, including a telephone number, for further assistance.” 12 C.F.R. §

  1024.36(d)(1).
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           21.      Regulation X section 1024.36(d)(2) provides that a servicer must comply with the

  requirements in section 1024.36(d)(1) not later than 30 days (excluding legal public holidays,

  Saturdays, and Sundays) for all requests for information other than requests for the identity of the

  owner of assignee of a mortgage loan. 12 C.F.R. § 1024.36(d)(2)(i)(B).

     22.         Further, 12 C.F.R. § 1024.36(d)(2)(ii) provides:

           “(ii) Extension of time limit. For requests for information governed by the time
           limit set forth in paragraph (d)(2)(i)(B) of this section, a servicer may extend the
           time period for responding by an additional 15 days (excluding legal public
           holidays, Saturdays, and Sundays) if, before the end of the 30-day period, the
           servicer notifies the borrower of the extension and the reasons for the extension in
           writing. A servicer may not extend the time period for requests for information
           governed by paragraph (d)(2)(i)(A) of this section.”

           23.      Plaintiff sent to Defendant a Request for Information on September 30, 2014

  requesting certain information pertaining to her mortgage loan. See Exhibit “A”.

           24.      Defendant failed to properly, timely, and adequately respond to Plaintiff’s

  September 30th RFI and is therefore in violation of 12 C.F.R. § 1024.36(d).

           25.      As a result of Defendant’s violation, Plaintiff incurred damages when it was forced

  to send subsequent requests for information and notices of error either requesting the same

  documentation or notifying the Defendant of errors it committed in not properly replying to prior

  requests for information. See Exhibits “B-G”

           26.      As a result, Plaintiff incurred actual damages in the form of (1) costs and legal fees

  incurred to prepare each subsequent request for information and subsequent notices of error,

  including the October 8th RFI, October 27th RFI, December 10th RFI, January 25th RFI/NOE, June

  27th RFI/NOE, and July 16th NOE; (2) costs incurred in connection with the photocopying and

  mailing of the requests for information and notices of error; (3) costs incurred in the form of time

  spent, transportation costs, and other expenses incurred during the process of obtaining the
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  Defendant’s compliance with Regulation X. Further, Plaintiff alleges that Defendant’s actions or

  lack of actions with respect to this particular count together with those alleged in the remaining

  counts in this complaint are tantamount to a case of a pattern or practice of noncompliance with

  the requirements of the RESPA and Regulation X, allowing for the recovery of statutory damages

  pursuant to 12 U.S.C. § 2605(f).

         27.       Accordingly, Plaintiff is entitled to both actual and statutory damages together with

  prevailing party attorneys’ fees and costs pursuant to 12 U.S.C. § 2605(f).

          Count II – Failure to Respond to October 8th, 2014 Request for Information
                   Violation of Regulation X, Section 12 C.F.R. § 1024.36(d)

         28.       Plaintiff incorporates the allegations in paragraphs 1-18 above into this count for

  damages.

         29.       Regulation X section 1024.36(d)(1) provides that a “servicer must respond to an

  information request by either: (i) [p]roviding the borrower with the requested information and

  contact information, including telephone number, for further assistance in writing; or (ii)

  [c]onducting a reasonable search for the requested information and providing the borrower with a

  written notification that states that the servicer has determined that the requested information is

  not available to the servicer, provides the basis for the servicer’s determination, and provides

  contact information, including a telephone number, for further assistance.” 12 C.F.R. §

  1024.36(d)(1).

         30.       Regulation X section 1024.36(d)(2) provides that a servicer must comply with the

  requirements in section 1024.36(d)(1) not later than 30 days (excluding legal public holidays,

  Saturdays, and Sundays) for all requests for information other than requests for the identity of the

  owner of assignee of a mortgage loan. 12 C.F.R. § 1024.36(d)(2)(i)(B).

         31.       Further, 12 C.F.R. § 1024.36(d)(2)(ii) provides:
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         “(ii) Extension of time limit. For requests for information governed by the time
         limit set forth in paragraph (d)(2)(i)(B) of this section, a servicer may extend the
         time period for responding by an additional 15 days (excluding legal public
         holidays, Saturdays, and Sundays) if, before the end of the 30-day period, the
         servicer notifies the borrower of the extension and the reasons for the extension in
         writing. A servicer may not extend the time period for requests for information
         governed by paragraph (d)(2)(i)(A) of this section.”

         32.     Plaintiff sent to Defendant a Request for Information on October 8, 2014 requesting

  certain information pertaining to her mortgage loan. See Exhibit “B”.

         33.     Defendant failed to properly, timely, and adequately respond to Plaintiff’s October

  8th RFI and is therefore in violation of 12 C.F.R. § 1024.36(d).

         34.     As a result of Defendant’s violation, Plaintiff incurred damages when it was forced

  to send subsequent requests for information and notices of error either requesting the same

  documentation or notifying the Defendant of errors it committed in not properly replying to prior

  requests for information. See Exhibits “C-G”

         35.     As a result, Plaintiff incurred actual damages in the form of (1) costs and legal fees

  incurred to prepare each subsequent request for information and subsequent notices of error,

  including the October 27th RFI, December 10th RFI, January 25th RFI/NOE, June 27th RFI/NOE,

  and July 16th NOE; (2) costs incurred in connection with the photocopying and mailing of the

  requests for information and notices of error; (3) costs incurred in the form of time spent,

  transportation costs, and other expenses incurred during the process of obtaining the Defendant’s

  compliance with Regulation X. Further, Plaintiff alleges that Defendant’s actions or lack of actions

  with respect to this particular count together with those alleged in the remaining counts in this

  complaint are tantamount to a case of a pattern or practice of noncompliance with the requirements

  of the RESPA and Regulation X, allowing for the recovery of statutory damages pursuant to 12

  U.S.C. § 2605(f).
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         36.       Accordingly, Plaintiff is entitled to both actual and statutory damages together with

  prevailing party attorneys’ fees and costs pursuant to 12 U.S.C. § 2605(f).

          Count III – Failure to Respond to October 27, 2014 Request for Information
                   Violation of Regulation X, Section 12 C.F.R. § 1024.36(d)

         37.       Plaintiff incorporates the allegations in paragraphs 1-18 above into this count for

  damages.

         38.       Regulation X section 1024.36(d)(1) provides that a “servicer must respond to an

  information request by either: (i) [p]roviding the borrower with the requested information and

  contact information, including telephone number, for further assistance in writing; or (ii)

  [c]onducting a reasonable search for the requested information and providing the borrower with a

  written notification that states that the servicer has determined that the requested information is

  not available to the servicer, provides the basis for the servicer’s determination, and provides

  contact information, including a telephone number, for further assistance.” 12 C.F.R. §

  1024.36(d)(1).

         39.       Regulation X section 1024.36(d)(2) provides that a servicer must comply with the

  requirements in section 1024.36(d)(1) not later than 30 days (excluding legal public holidays,

  Saturdays, and Sundays) for all requests for information other than requests for the identity of the

  owner of assignee of a mortgage loan. 12 C.F.R. § 1024.36(d)(2)(i)(B).

         40.       Further, 12 C.F.R. § 1024.36(d)(2)(ii) provides:

         “(ii) Extension of time limit. For requests for information governed by the time
         limit set forth in paragraph (d)(2)(i)(B) of this section, a servicer may extend the
         time period for responding by an additional 15 days (excluding legal public
         holidays, Saturdays, and Sundays) if, before the end of the 30-day period, the
         servicer notifies the borrower of the extension and the reasons for the extension in
         writing. A servicer may not extend the time period for requests for information
         governed by paragraph (d)(2)(i)(A) of this section.”
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         41.     Plaintiff sent to Defendant a Request for Information on October 27, 2014

  requesting certain information pertaining to her mortgage loan. See Exhibit “C”.

         42.     Defendant failed to properly, timely, and adequately respond to Plaintiff’s October

  27th RFI and is therefore in violation of 12 C.F.R. § 1024.36(d).

         43.     As a result of Defendant’s violation, Plaintiff incurred damages when it was forced

  to send subsequent requests for information and notices of error either requesting the same

  documentation or notifying the Defendant of errors it committed in not properly replying to prior

  requests for information. See Exhibits “D-G”

         44.     As a result, Plaintiff incurred actual damages in the form of (1) costs and legal fees

  incurred to prepare each subsequent request for information and subsequent notices of error,

  including the December 10th RFI, January 25th RFI/NOE, June 27th RFI/NOE, and July 16th NOE;

  (2) costs incurred in connection with the photocopying and mailing of the requests for information

  and notices of error; (3) costs incurred in the form of time spent, transportation costs, and other

  expenses incurred during the process of obtaining the Defendant’s compliance with Regulation X.

  Further, Plaintiff alleges that Defendant’s actions or lack of actions with respect to this particular

  count together with those alleged in the remaining counts in this complaint are tantamount to a

  case of a pattern or practice of noncompliance with the requirements of the RESPA and Regulation

  X, allowing for the recovery of statutory damages pursuant to 12 U.S.C. § 2605(f).

         45.     Accordingly, Plaintiff is entitled to both actual and statutory damages together with

  prevailing party attorneys’ fees and costs pursuant to 12 U.S.C. § 2605(f).

         Count IV – Failure to Respond to December 10, 2014 Request for Information
                  Violation of Regulation X, Section 12 C.F.R. § 1024.36(d)

         46.     Plaintiff incorporates the allegations in paragraphs 1-18 above into this count for

  damages.
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          47.       Regulation X section 1024.36(d)(1) provides that a “servicer must respond to an

   information request by either: (i) [p]roviding the borrower with the requested information and

   contact information, including telephone number, for further assistance in writing; or (ii)

   [c]onducting a reasonable search for the requested information and providing the borrower with a

   written notification that states that the servicer has determined that the requested information is

   not available to the servicer, provides the basis for the servicer’s determination, and provides

   contact information, including a telephone number, for further assistance.” 12 C.F.R. §

   1024.36(d)(1).

          48.       Regulation X section 1024.36(d)(2) provides that a servicer must comply with the

   requirements in section 1024.36(d)(1) not later than 30 days (excluding legal public holidays,

   Saturdays, and Sundays) for all requests for information other than requests for the identity of the

   owner of assignee of a mortgage loan. 12 C.F.R. § 1024.36(d)(2)(i)(B).

          49.       Further, 12 C.F.R. § 1024.36(d)(2)(ii) provides:

          “(ii) Extension of time limit. For requests for information governed by the time
          limit set forth in paragraph (d)(2)(i)(B) of this section, a servicer may extend the
          time period for responding by an additional 15 days (excluding legal public
          holidays, Saturdays, and Sundays) if, before the end of the 30-day period, the
          servicer notifies the borrower of the extension and the reasons for the extension in
          writing. A servicer may not extend the time period for requests for information
          governed by paragraph (d)(2)(i)(A) of this section.”

          50.       Plaintiff sent to Defendant a Request for Information on December 10, 2014

   requesting certain information pertaining to her mortgage loan. See Exhibit “D”.

          51.       Defendant failed to properly, timely, and adequately respond to Plaintiff’s

   December 10th RFI and is therefore in violation of 12 C.F.R. § 1024.36(d).

          52.       As a result of Defendant’s violation, Plaintiff incurred damages when it was forced

   to send subsequent requests for information and notices of error either requesting the same
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   documentation or notifying the Defendant of errors it committed in not properly replying to prior

   requests for information. See Exhibits “E-G”

          53.     As a result, Plaintiff incurred actual damages in the form of (1) costs and legal fees

   incurred to prepare each subsequent request for information and subsequent notices of error,

   including the January 25th RFI/NOE, June 27th RFI/NOE, and July 16th NOE; (2) costs incurred in

   connection with the photocopying and mailing of the requests for information and notices of error;

   (3) costs incurred in the form of time spent, transportation costs, and other expenses incurred

   during the process of obtaining the Defendant’s compliance with Regulation X. Further, Plaintiff

   alleges that Defendant’s actions or lack of actions with respect to this particular count together

   with those alleged in the remaining counts in this complaint are tantamount to a case of a pattern

   or practice of noncompliance with the requirements of the RESPA and Regulation X, allowing for

   the recovery of statutory damages pursuant to 12 U.S.C. § 2605(f).

          54.     Accordingly, Plaintiff is entitled to both actual and statutory damages together with

   prevailing party attorneys’ fees and costs pursuant to 12 U.S.C. § 2605(f).

     Count V – Failure to Respond to January 25th Request for Information/Notice of Error
                   Violation of Regulation X, Section 12 C.F.R. § 1024.36(d)

          55.     Plaintiff incorporates the allegations in paragraphs 1-18 above into this count for

   damages.

          56.     Regulation X section 1024.36(d)(1) provides that a “servicer must respond to an

   information request by either: (i) [p]roviding the borrower with the requested information and

   contact information, including telephone number, for further assistance in writing; or (ii)

   [c]onducting a reasonable search for the requested information and providing the borrower with a

   written notification that states that the servicer has determined that the requested information is

   not available to the servicer, provides the basis for the servicer’s determination, and provides
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   contact information, including a telephone number, for further assistance.” 12 C.F.R. §

   1024.36(d)(1).

          57.       Regulation X section 1024.36(d)(2) provides that a servicer must comply with the

   requirements in section 1024.36(d)(1) not later than 30 days (excluding legal public holidays,

   Saturdays, and Sundays) for all requests for information other than requests for the identity of the

   owner of assignee of a mortgage loan. 12 C.F.R. § 1024.36(d)(2)(i)(B).

          58.       Further, 12 C.F.R. § 1024.36(d)(2)(ii) provides:

          “(ii) Extension of time limit. For requests for information governed by the time
          limit set forth in paragraph (d)(2)(i)(B) of this section, a servicer may extend the
          time period for responding by an additional 15 days (excluding legal public
          holidays, Saturdays, and Sundays) if, before the end of the 30-day period, the
          servicer notifies the borrower of the extension and the reasons for the extension in
          writing. A servicer may not extend the time period for requests for information
          governed by paragraph (d)(2)(i)(A) of this section.”

          59.       Plaintiff sent to Defendant a Request for Information/Notice of Error on January

   25, 2016 requesting certain information pertaining to her mortgage loan. See Exhibit “E”.

          60.       Defendant failed to properly, timely, and adequately respond to Plaintiff’s January

   25th RFI/NOE and is therefore in violation of 12 C.F.R. § 1024.36(d).

          61.       As a result of Defendant’s violation, Plaintiff incurred damages when it was forced

   to send subsequent requests for information and notices of error either requesting the same

   documentation or notifying the Defendant of errors it committed in not properly replying to prior

   requests for information. See Exhibits “F” and “G”

          62.       As a result, Plaintiff incurred actual damages in the form of (1) costs and legal fees

   incurred to prepare each subsequent request for information and subsequent notices of error,

   including the June 27th RFI/NOE and July 16th NOE; (2) costs incurred in connection with the

   photocopying and mailing of the requests for information and notices of error; (3) costs incurred
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   in the form of time spent, transportation costs, and other expenses incurred during the process of

   obtaining the Defendant’s compliance with Regulation X. Further, Plaintiff alleges that

   Defendant’s actions or lack of actions with respect to this particular count together with those

   alleged in the remaining counts in this complaint are tantamount to a case of a pattern or practice

   of noncompliance with the requirements of the RESPA and Regulation X, allowing for the

   recovery of statutory damages pursuant to 12 U.S.C. § 2605(f).

          63.     Accordingly, Plaintiff is entitled to both actual and statutory damages together with

   prevailing party attorneys’ fees and costs pursuant to 12 U.S.C. § 2605(f).

    Count VI – Failure to Respond to January 25th Request for Information/Notice of Error
                   Violation of Regulation X, Section 12 C.F.R. § 1024.35(e)

          64.     Plaintiff incorporates the allegations in paragraphs 1-18 above into this count for

   damages.

          65.     Section 1024.35(e)(1)(i) provides that a servicer must respond to a notice of error

   by either “[c]orrecting the error or errors identified by the borrower and providing the borrower

   with a written notification of the correction …” or “[c]onducting a reasonable investigation and

   providing the borrower with a written notification that includes a statement that the servicer has

   determined that no error occurred….” 12 C.F.R. § 1024.35(e)(1)(i)(B).

          66.     The section requires that the servicer respond to a notice asserting errors not under

   paragraphs (b)(9) and (10) “not later than 30 days (excluding legal public holidays, Saturdays, and

   Sundays) after the servicer receives the applicable notice of error.” 12 C.F.R. §

   1024.35(e)(3)(i)(C).

          67.     Plaintiff sent to Defendant a notice of error on or about January 25, 2016. See

   Exhibit “E”.
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          68.     The Defendant has failed to either correct the error provided for in the January 25th

   RFI/NOE or provide a response stating that it determined that no error occurred within the

   applicable amount of time as required by Regulation X and is therefore in violation of Regulation

   X. 12 C.F.R. § 1024.35(e).

          69.     As a result, Plaintiff incurred actual damages in the form of (1) costs and legal fees

   incurred to prepare each subsequent request for information and subsequent notices of error,

   including the June 27th RFI/NOE and July 16th NOE; (2) costs incurred in connection with the

   photocopying and mailing of the requests for information and notices of error; (3) costs incurred

   in the form of time spent, transportation costs, and other expenses incurred during the process of

   obtaining the Defendant’s compliance with Regulation X. Further, Plaintiff alleges that

   Defendant’s actions or lack of actions with respect to this particular count together with those

   alleged in the remaining counts in this complaint are tantamount to a case of a pattern or practice

   of noncompliance with the requirements of the RESPA and Regulation X, allowing for the

   recovery of statutory damages pursuant to 12 U.S.C. § 2605(f).

          70.     Accordingly, Plaintiff is entitled to both actual and statutory damages together with

   prevailing party attorneys’ fees and costs pursuant to 12 U.S.C. § 2605(f).

      Count VII – Failure to Respond to June 27th Request for Information/Notice of Error
                   Violation of Regulation X, Section 12 C.F.R. § 1024.36(d)

          71.     Plaintiff incorporates the allegations in paragraphs 1-18 above into this count for

   damages.

          72.     Regulation X section 1024.36(d)(1) provides that a “servicer must respond to an

   information request by either: (i) [p]roviding the borrower with the requested information and

   contact information, including telephone number, for further assistance in writing; or (ii)

   [c]onducting a reasonable search for the requested information and providing the borrower with a
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   written notification that states that the servicer has determined that the requested information is

   not available to the servicer, provides the basis for the servicer’s determination, and provides

   contact information, including a telephone number, for further assistance.” 12 C.F.R. §

   1024.36(d)(1).

          73.       Regulation X section 1024.36(d)(2) provides that a servicer must comply with the

   requirements in section 1024.36(d)(1) not later than 30 days (excluding legal public holidays,

   Saturdays, and Sundays) for all requests for information other than requests for the identity of the

   owner of assignee of a mortgage loan. 12 C.F.R. § 1024.36(d)(2)(i)(B).

          74.       Further, 12 C.F.R. § 1024.36(d)(2)(ii) provides:

          “(ii) Extension of time limit. For requests for information governed by the time
          limit set forth in paragraph (d)(2)(i)(B) of this section, a servicer may extend the
          time period for responding by an additional 15 days (excluding legal public
          holidays, Saturdays, and Sundays) if, before the end of the 30-day period, the
          servicer notifies the borrower of the extension and the reasons for the extension in
          writing. A servicer may not extend the time period for requests for information
          governed by paragraph (d)(2)(i)(A) of this section.”

          75.       Plaintiff sent to Defendant a Request for Information/Notice of Error on June 27th,

   2016 requesting certain information pertaining to her mortgage loan. See Exhibit “F”.

          76.       Defendant failed to properly, timely, and adequately respond to Plaintiff’s June 27th

   RFI/NOE and is therefore in violation of 12 C.F.R. § 1024.36(d).

          77.       As a result of Defendant’s violation, Plaintiff incurred damages when it was forced

   to send subsequent requests for information and notices of error either requesting the same

   documentation or notifying the Defendant of errors it committed in not properly replying to prior

   requests for information. See Exhibit “G”

          78.       As a result, Plaintiff incurred actual damages in the form of (1) costs and legal fees

   incurred to prepare each subsequent request for information and subsequent notices of error,
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   including the July 16th NOE; (2) costs incurred in connection with the photocopying and mailing

   of the requests for information and notices of error; (3) costs incurred in the form of time spent,

   transportation costs, and other expenses incurred during the process of obtaining the Defendant’s

   compliance with Regulation X. Further, Plaintiff alleges that Defendant’s actions or lack of actions

   with respect to this particular count together with those alleged in the remaining counts in this

   complaint are tantamount to a case of a pattern or practice of noncompliance with the requirements

   of the RESPA and Regulation X, allowing for the recovery of statutory damages pursuant to 12

   U.S.C. § 2605(f).

          79.     Accordingly, Plaintiff is entitled to both actual and statutory damages together with

   prevailing party attorneys’ fees and costs pursuant to 12 U.S.C. § 2605(f).

     Count VIII – Failure to Respond to June 27th Request for Information/Notice of Error
                   Violation of Regulation X, Section 12 C.F.R. § 1024.35(e)

          80.     Plaintiff incorporates the allegations in paragraphs 1-18 above into this count for

   damages.

          81.     Section 1024.35(e)(1)(i) provides that a servicer must respond to a notice of error

   by either “[c]orrecting the error or errors identified by the borrower and providing the borrower

   with a written notification of the correction …” or “[c]onducting a reasonable investigation and

   providing the borrower with a written notification that includes a statement that the servicer has

   determined that no error occurred….” 12 C.F.R. § 1024.35(e)(1)(i)(B).

          82.     The section requires that the servicer respond to a notice asserting errors not under

   paragraphs (b)(9) and (10) “not later than 30 days (excluding legal public holidays, Saturdays, and

   Sundays) after the servicer receives the applicable notice of error.” 12 C.F.R. §

   1024.35(e)(3)(i)(C).
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          83.     Plaintiff sent to Defendant a notice of error on or about June 27th, 2016. See Exhibit

   “F”.

          84.     The Defendant has failed to either correct the error provided for in the June 27th

   RFI/NOE or provide a response stating that it determined that no error occurred within the

   applicable amount of time as required by Regulation X and is therefore in violation of Regulation

   X. 12 C.F.R. § 1024.35(e).

          85.     As a result, Plaintiff incurred actual damages in the form of (1) costs and legal fees

   incurred to prepare each subsequent request for information and subsequent notices of error,

   including the July 16th NOE; (2) costs incurred in connection with the photocopying and mailing

   of the requests for information and notices of error; (3) costs incurred in the form of time spent,

   transportation costs, and other expenses incurred during the process of obtaining the Defendant’s

   compliance with Regulation X. Further, Plaintiff alleges that Defendant’s actions or lack of actions

   with respect to this particular count together with those alleged in the remaining counts in this

   complaint are tantamount to a case of a pattern or practice of noncompliance with the requirements

   of the RESPA and Regulation X, allowing for the recovery of statutory damages pursuant to 12

   U.S.C. § 2605(f).

          86.     Accordingly, Plaintiff is entitled to both actual and statutory damages together with

   prevailing party attorneys’ fees and costs pursuant to 12 U.S.C. § 2605(f).

                                           Prayer for Relief

          Wherefore, Plaintiff demands final judgment against Bank of America, National

   Association providing for all of the following:

                  a. awarding actual damages that have been and may be proximately caused by

                       Bank of America’s violation of RESPA and Regulation X;
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                  b. statutory damages under RESPA for Bank of America’s pattern and practice of

                     non-compliance;

                  c. prevailing party attorneys’ fees and costs under 12 U.S.C. § 2605(f);

                  d. awarding any further relief available under the law.

                                                Jury Demand

                  Plaintiff hereby requests a trial by jury on all issues, with the maximum number

   of jurors permitted by law.

   _________________
   June 26, 2017
   Miami, FL

                                                       Respectfully submitted,

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